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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 AARON DOMINICK OLDHAM,

                                Plaintiff,
                                                     Case No. 24-cv-07252
                        v.
                                                     Judge Edmond E. Chang
 UNITED AIRLINES, INC.,

                                Defendant.

                              JOINT INITIAL STATUS REPORT

       Plaintiff AARON DOMINICK OLDHAM (“Plaintiff”) and Defendant UNITED

AIRLINES, INC. (“United”), by their respective counsel, submit their Joint Initial Status Report

pursuant to the Court’s September 27, 2024, Minute Order [Doc. No. 18] and this Court’s Case

Procedures.

1. NATURE OF THE CASE

   a. Identify the attorneys of record for each party, including the lead trial attorney.

 Attorneys for Plaintiff                                 Attorneys for Defendant
 Aaron Dominick Oldham:                                  United Airlines, Inc.:

 Elizabeth Eilender (lead trial attorney)                Telly Andrews (lead trial attorney)
 Pro hac vice accepted                                   tandrews@kmazuckert.com
 Jaroslawicz & Jaros, PLLC                               Kelly Nicole Flavin
 225 Broadway, 24th Floor                                kflavin@kmazuckert.com
 New York, NY 10007                                      Patrycia Piaskowski
 (212) 227-2480                                          ppiaskowski@kmazuckert.com
 EEilender@lawjaros.com                                  KMA Zuckert LLP
                                                         227 W. Monroe St., Suite 3650
 John K. Kennedy                                         Chicago, IL 60606
 Kennedy Watkins LLC                                     (312) 345-3000
 350 N. Orleans St., Suite 9000N
 Chicago, IL 60654
 (312) 448-8181
 jkennedy@kwlawchicago.com




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    b. State the basis for federal jurisdiction.

        Federal jurisdiction is predicated on Plaintiff’s claim under the Convention for the

Unification of Certain Rules of International Carriage by Air (“Montreal Convention”), as ratified

by the United States Senate on July 31, 2003. 149 Cong. Rec. 20, 813 (2003); see U.S. Const. Art.

VI, Cl. 2 (a ratified treaty becomes the “supreme law of the land”). Furthermore, diversity

jurisdiction exists under 28 U.S.C. § 1332, as Plaintiff is a resident of Oklahoma, while United is

incorporated in Delaware with its principal place of business in Illinois, and the amount in

controversy exceeds $75,000.00.

    c. Describe the nature of the claims asserted in the complaint and any counterclaims.

        Plaintiff brings this action pursuant to the Montreal Convention for personal injuries

sounding in negligence. On February 4, 2024 (“DOI”), Plaintiff was a ticketed fare-paying

passenger onboard United Flight No. 1169 from Daniel K. Inouye International Airport (“HNL”)

in Honolulu, Hawaii, to Los Angeles International Airport (“LAX”) in Los Angeles, California

(“subject flight”). Plaintiff alleges that another passenger stood up during food and beverage

service to access the overhead bin and a flight attendant subsequently collided with said passenger,

allegedly causing the passenger to drop the passenger’s bag onto the Plaintiff (the “Incident”). As

a result of the Incident, Plaintiff alleges he suffered severe and permanent personal injuries.

        United denies Plaintiff’s allegations of recklessness, carelessness, and negligence, and also

denies the extent of Plaintiff’s injuries. United further alleges that any injuries or damages Plaintiff

sustained were due to the acts of persons or entities outside of United’s control or supervision, and

asserts affirmative defenses such as Plaintiff’s comparative fault, the express terms of the Montreal

Convention, and Plaintiff’s failure to mitigate his damage. Further, United states that the precise




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nature and circumstances of the Incident as alleged in Plaintiff’s Complaint are subject to further

discovery and investigation.

    d. State the major legal and factual issues in the case.

        United denies liability under the Montreal Convention and further states that any injuries

Plaintiff allegedly suffered was due to the negligence or acts of a third party. United further

disputes the extent of Plaintiff’s alleged injuries.

    e. Describe the relief sought by the plaintiff (and counter-claimant).

        As a result of the incident, plaintiff sustained profound and permanent personal injuries

including but not limited to traumatic brain injury confirmed on a head and brain MRI;

traumatically induced demyelinating disease; traumatically induced Multiple Sclerosis; brain

inflammation; traumatically induced immune system response to brain inflammation and attack

on brain myelin; extreme pain in head, neck and shoulders; intense headaches; unable to focus;

vision disturbances; extreme fatigue; steroid induced psychosis requiring in-patient

hospitalization; completely disabled from his activities of daily living including personal care and

hygiene and employment in solutions engineering; cognitive deficits; memory loss; dizziness; loss

of depth perception; loss of short term memory; balance issues; night terrors; anxiety; depression;

fitful sleep; requires extensive medical, cognitive and memory care and attention and will require

such care in the future; extreme pain and suffering; emotional harm; mental anguish and distress;

required hospital treatment and numerous radiological studies including CT scans and MRI’s;

vision tests and will require such are in the future; incurred and will continue to incur medical

expenses for hospital and doctors all of which damages are permanent in nature and continuing

into the future.




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      Plaintiff seeks damages in the following categories:

Past pain and suffering:    To be determined by a jury.

Future pain and suffering: To be determined by a jury.

Past medical expenses:      At least $165,000 to date and continuing which Plaintiff believes
                            may be subject to a lien to be obtained and provided.

Future medical expenses:    Currently unknown and is expected to be the subject of expert
                            testimony.

Past lost earnings:         To be provided

Future loss of earnings:    Currently unknown and is expected to be the subject of expert
                            testimony.

Out-of-pocket expenses:     To be provided.

2. PENDING MOTIONS AND CASE PLAN

  a. Important: State the status of service of process on each defendant.

      United has been served.

  b. Identify all pending motions.

      There are no pending motions.

  c. Submit a proposal for a discovery plan, including the following information:

         i.   The general type of discovery needed.

              •   Plaintiff to respond to United’s written discovery requests served on September
                  13, 2024;

              •   United to respond to Plaintiff’s written discovery request served on September
                  16, 2024;

              •   Obtain Plaintiff’s medical records (record subpoenas have been issued);

              •   Depositions of all parties and potential non-party witnesses;

              •   Depositions of Plaintiff’s treating physicians; and

              •   Possible expert discovery.


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         ii.   A date for Rule 26(a)(1) disclosures.

       Plaintiff served his Rule 26(a)(1) Initial Disclosures on September 24, 2024. United will

serve its Rule 26(a)(1) Initial Disclosures by October 16, 2024.

        iii.   A date to issue the first set of written discovery requests.

               The parties have already exchanged their first sets of written discovery requests.

        iv.    A fact discovery completion date.

               March 28, 2025.

         v.    If there will be expert discovery, an expert discovery completion date, including
               dates for the delivery of expert reports (or summaries for non-retained expert
               testimony).

                      Although the Parties mostly agree on a proposed expert discovery schedule,

               the Parties disagree on the timing of expert depositions. On October 2, 2024,

               counsel for Plaintiff and Defendant engaged in a meet and confer via telephone in

               hopes of resolving the issue but reached an impasse. Accordingly, Plaintiff and

               Defendant set forth their respective position and proposed schedule below.

               Plaintiff’s Position:

                      Plaintiff requests that the following expert discovery schedule be entered:

                      •   Plaintiff is to provide Rule 26(a)(2) disclosures by April 30, 2025, and
                          the experts are to be deposed by July 30, 2025;

                      •   Defendant to provide Rule 26(a)(2) disclosures by May 30, 2025, and
                          the experts are to be deposed by July 30, 2025;

                      •   Rebuttal disclosures (if any) are due by August 20, 2025; and

                      •   All expert discovery is to be completed by September 3, 2025.

                      Plaintiff respectfully requests that the Court enter the expert discovery

               schedule set forth above which provides for the exchange of both plaintiff’s and



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        defendant’s expert reports before any expert depositions take place. We believe it

        is the more efficient way to proceed. Plaintiff has no objection to producing their

        expert reports first and for their depositions to take place before the defense experts

        are deposed. We believe it would be judicially economical and fundamentally fairer

        to proceed this way. The defense will have plaintiff’s expert’s opinions in their

        report(s) before their deposition. Ordinarily, Plaintiff would have the opportunity

        to submit a reply expert report and so if plaintiff is in possession of defendant’s

        expert report prior to their deposition, it may obviate the need for a reply expert

        report from plaintiff and possibly a second deposition of plaintiff’s expert. It

        actually may be of more value to the defense to depose plaintiff’s expert and hear

        their rebuttal to the defense expert’s report(s) sooner rather than later and certainly

        before their own expert is deposed.

                Moreover, we believe the prejudice to which defendant is insinuating below

        is negligible. While not binding on this Court, Plaintiff’s proposed order for expert

        discovery mirrors the process as set forth in another Montreal Convention action

        pending in this District between identical counsel herein and no objection was

        raised in that case before the U.S. District Court in New Jersey or after the action

        was transferred to this Court.

                Plaintiff is available at the Court’s discretion to orally address this dispute

        if the Court so directs.

        Defendant’s Position:

                Defendant opposes Plaintiff’s proposed expert discovery schedule because

        both Plaintiff’s Rule 26(a)(2) disclosures and the depositions of those experts




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        should take place before Defendant is required to provide their disclosures and offer

        their experts for deposition. Plaintiff has the burden of proof in establishing liability,

        and to implement an expert discovery schedule that does not require Plaintiff’s

        experts to be deposed prior to Defendant’s Rule 26(a)(2) disclosures would

        impermissibly place the burden on Defendant by requiring it to preemptively

        produce expert opinions in opposition to what Plaintiff may put forth. Frequently,

        it is necessary for the party without the burden of proof to explore the opposing

        party’s expert’s opinions during deposition, as opposed to relying on their report,

        to obtain the full scope of the expert’s opinions (as well as the basis for those

        opinions) in order to disclose a responsive report. Additionally, a defendant may

        not know that an expert in a particular area is even needed until the depositions of

        the plaintiff’s experts have been completed.

                Moreover, to the extent Plaintiff suggests that his proposed expert discovery

        schedule is not prejudicial to Defendants due to a similar expert schedule entered

        in an unrelated case, Defendant respectfully notes that the schedule referenced was

        initially entered by the U.S. District Court for the District of New Jersey prior to

        the case being transferred to this District, and that case involves an entirely different

        set of facts and alleged injuries.

                Thus, for the sake of fairness and efficiency, Defendant requests that the

        following expert discovery schedule be entered:

                •   Plaintiff is to provide Rule 26(a)(2) disclosures by April 30, 2025, and
                    the experts are to be deposed by May 30, 2025;

                •   Defendant is to provide Rule 26(a)(2) disclosures by June 30, 2025, and
                    the experts are to be deposed by July 30, 2025;




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                        •   Rebuttal disclosures (if any) are due by August 20, 2025; and

                        •   All expert discovery is to be completed by September 3, 2025.

         vi.    A date for the filing of dispositive motions.

                October 15, 2025.

    d. State whether a jury trial is requested and the probable length of trial.

        Plaintiff demands a trial by jury. The parties still have an extensive amount of discovery to

complete and anticipate that this matter will be ready for trial in the Winter of 2025. Furthermore,

the parties expect the trial will last five to seven days.

    e. State whether the parties agree to service of pleadings and other papers by electronic means
       under Federal Rule of Civil Procedure 5(b)(2)(E).

        The parties agree to service of pleadings and other papers by electronic means under

Federal Rule of Civil Procedure 5(b)(2)(E).

3. CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

    a. State whether the parties consent unanimously to proceed before a Magistrate Judge for all
       purposes, including entry of final judgment.

        Counsel have informed their respective clients about the possibility of proceeding before a

Magistrate Judge for all purposes, including entry of a final judgment. The parties do not

unanimously consent to proceed before a Magistrate Judge for all purposes, including entry of a

final judgment.

4. STATUS OF SETTLEMENT DISCUSSIONS

    a. State whether any settlement discussions have occurred.

        No meaningful settlement discussions have taken place to date.

    b. Describe the status of any settlement discussions.

        No meaningful settlement discussions have taken place at this time.




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   c. Whether the parties request a settlement conference.

       At this time, the parties would like the opportunity to complete discovery prior to engaging

in a settlement conference before this Court.

 Dated: October 7, 2024                                Dated:   October 7, 2024

 Respectfully submitted,

 JAROSLAWICZ & JAROS, PLLC                             KMA ZUCKERT LLP

 By: /s/ Elizabeth Eilender                            By:   /s/ Kelly N. Flavin
     Elizabeth Eilender (lead trial attorney)                Telly Andrews
     Pro hac vice Application granted                        Kelly N. Flavin
     Jaroslawicz & Jaros, PLLC                               Patrycia Piaskowski
     225 Broadway, 24th Floor                                KMA Zuckert LLP
     New York, NY 10007                                      227 W. Monroe St., Suite 3650
     (212) 227-2480                                          Chicago, IL 60606
     eeilender@lawjaros.com                                  (312) 345-3000
                                                             tandrews@kmazuckert.com
       John K. Kennedy                                       kflavin@kmazuckert.com
       Kennedy Watkins LLC                                   ppiaskowski@kmazuckert.com
       350 N. Orleans St., Suite 9000N
       Chicago, IL 60654
       (312) 448-8181
       jkennedy@kwlawchicago.com

       Attorneys for Plaintiff                               Attorneys for Defendant
       AARON DOMINICK OLDHAM                                 UNITED AIRLINES, INC.




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